                                         Case 3:14-cv-00608-JCS Document 1115 Filed 05/02/22 Page 1 of 2




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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         AARON SENNE, et al.,
                                   7                                                          Case No. 14-cv-00608-JCS
                                                         Plaintiffs,
                                   8
                                                  v.                                          ORDER DENYING MOTION FOR
                                   9                                                          LEAVE TO FILE MOTION FOR
                                         KANSAS CITY ROYALS BASEBALL                          RECONSIDERATION
                                  10     CORP., et al.,
                                                                                              Re: Dkt. No. 1075
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13           Plaintiffs in Marti v. Office of the Commissioner of Baseball, et al., C-14-3289 JCS

                                  14   (“Marti action”) bring a Motion for Leave to File Motion for Reconsideration (“Motion”) asking

                                  15   the Court to reconsider its October 10, 2014 Order (“Consolidation Order”) consolidating the

                                  16   Marti action with Senne v. Office of the Commissioner of Baseball, et al., C-14-0608 JCS and

                                  17   appointing Pearson, Simon, & Warshaw, LLP and Korein Tillery LLC as lead class counsel. The

                                  18   Marti plaintiffs previously filed a motion for leave to file a motion for reconsideration of the
                                  19   Consolidation Order, which the Court denied in July 2015. See dkt. no. 427. Now, a little over

                                  20   two months before trial is scheduled to commence, the Marti plaintiffs again ask the Court to

                                  21   reconsider the consolidation order, justifying their renewed request on the basis that the Court has

                                  22   bifurcated the individual claims from the class claims. According to the Marti plaintiffs, this new

                                  23   “fact” “eliminates the entire basis for the initial order for consolidation. i.e., to avoid confusion, to

                                  24   avoid multiple trials, and possible inconsistent judgments.” The Court disagrees.

                                  25           In its original Consolidation Order, the Court found that “allowing the two matters to

                                  26   proceed separately would result in unwarranted burdens to the parties and to the Court.” That
                                  27   remains as true now as it was when the cases were originally consolidated, regardless of whether

                                  28   the individual claims are to be tried separately. Indeed, reversing the Consolidation Order just as
                                            Case 3:14-cv-00608-JCS Document 1115 Filed 05/02/22 Page 2 of 2




                                   1   the parties are immersed in final preparation for trial would result in severe disruption of the

                                   2   litigation and delay the trial that the class (which includes the Marti plaintiffs) has been waiting

                                   3   for for almost eight years. In short, the decision to bifurcate the individual and class claims is not

                                   4   a new material fact under Civil Local Rule 7-9 that justifies reconsideration of the Consolidation

                                   5   Order.

                                   6             Furthermore, the Marti plaintiffs impermissibly repeat arguments in the Motion that the

                                   7   Court has already rejected. In particular, they argue in the Motion that the Consolidation Order

                                   8   should be reconsidered because they present additional players and assert claims under additional

                                   9   state laws but that argument was rejected by the Court when it originally consolidated the cases

                                  10   and again when the Marti plaintiffs sought reconsideration of the Consolidation Order. See

                                  11   Transcript of Proceedings, October 9, 2014 (dkt no. 426-1) at 15-16; dkt. no. 427 at 2. The Marti

                                  12   plaintiffs have violated Civil Local Rule 7-9(c)1 by making this argument yet again.
Northern District of California
 United States District Court




                                  13             Because the Marti plaintiffs have not shown that the requirements of Civil Local Rule 7-9

                                  14   are satisfied, the Motion is DENIED.

                                  15             IT IS SO ORDERED.

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                                  17   Dated: May 2, 2022

                                  18                                                     ______________________________________
                                                                                         JOSEPH C. SPERO
                                  19                                                     Chief Magistrate Judge
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                                  26       Civil Local Rule 7-9(c) provides:

                                  27    No motion for leave to file a motion for reconsideration may repeat any oral or written argument
                                       made by the applying party in support of or in opposition to the interlocutory order which the
                                  28   party now seeks to have reconsidered. Any party who violates this restriction shall be subject to
                                       appropriate sanctions.
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